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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                              CASE NO. 14-CIV-62416-BLOOM/Valle

 MICHAEL SHAVER,

        Plaintiff,
 v.

 MSC CROCIERE, S.A.,
 BEATS AT SEA, LLC, and
 CLOUD 9 ADVENTURES, L.L.C.,

        Defendants.
                                                  /

                 PLAINTIFF’S REPLY IN SUPPORT OF PLAINTIFF’S
            MOTION TO COMPEL BETTER RESPONSES TO PLAINTIFF’S
           INITIAL DISCOVERY FROM DEFENDANT, MSC CROCIERE, S.A.

        The Plaintiff, MICHAEL SHAVER, by and through undersigned counsel and pursuant to

 Federal Rules of Civil Procedure, this Court’s Local Rules and Magistrate Judge Alicia O. Valle’s

 discovery procedures [D.E. 25, pp. 3-4], hereby files his reply in support of his Motion to Compel

 Defendant, MSC CROCIERE, S.A. (“MSC”), to provide better responses to Plaintiff’s initial

 discovery [D.E. 34] and, in furtherance thereof, states as follows:

                                                Introduction

        The Plaintiff moves to compel the photographs, incident report and witness statements

 concerning the subject incident. [D.E. 25]. MSC claims these documents are protected under the

 work product doctrine and the attorney-client privilege. [D.E. 42].

        It is well settled that the party claiming a privilege has the burden of proving its

 applicability and all of its essential elements. See, e.g., Bridgewater v. Carnival Corp., 286 F.R.D.

 636, 638-39 (S.D. Fla. 2011) (collecting cases). In Bridgewater, this Court discussed that burden



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 and held that the “party claiming the privilege must provide the court with underlying facts

 demonstrating the existence of the privilege, which may be accomplished by affidavit.” Id.

 (citation omitted) (emphasis added). Even the affidavit, however, must be “precise to bring the

 document within the rule”; otherwise, “the Court has no basis on which to weigh the applicability

 of the claim of privilege. An improperly asserted claim of privilege is no claim of privilege at

 all.” Id. This Court went on to state as follows:

        “Th[e] burden is not, of course, discharged by mere conclusory or ipse dixit
        assertions, for any such rule would foreclose meaningful inquiry into the existence
        of the relationship, and any spurious claims could never be exposed.”….
        “[S]ubmitting a batch of documents to the Court in camera [does not] provide an
        adequate or suitable substitute because the Court is often without information of
        what the document concerns or how it came into being or other relevant information
        which would enable it to determine whether the documents are privileged.” Id.

        This burden, to sustain a claim of privilege, is heavy because privileges are “not
        lightly created nor expansively construed, for they are in derogation of the search
        for the truth.” United States v. Nixon, 418 U.S. 683, 710, 94 S.Ct. 3090, 41 L.Ed.2d
        1039 (1974)…. They must be strictly construed and accepted “only to the very
        limited extent that permitting a refusal to testify or excluding relevant evidence has
        a public good transcending the normally predominant principle of utilizing all
        rational means for ascertaining truth.” Trammel v. United States, 445 U.S. 40, 50,
        100 S.Ct. 906, 63 L.Ed.2d 186 (1980) (quoting Elkins v. United States, 364 U.S.
        206, 234, 80 S.Ct. 1437, 4 L.Ed.2d 1669 (1960)).

        Bridgewater, 286 F.R.D. at 639 (emphasis added).

        Herein, although MSC submits an affidavit in an attempt to support its claimed privilege

 [D.E. 42-1], the affidavit falls short, relying solely on conclusory assertions which this Court

 deems insufficient.

                                       Work-Product Doctrine

        In its response, MSC agrees with the Plaintiff that the determinative factor as to whether

 or not a document is protected under the work product doctrine is whether “the primary

 motivating purpose behind the creation of the document” was to aid in future litigation. See



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 United States v. Davis, 636 F.2d 1028, 1040 (5th Cir. 1981) (emphasis added) [D.E. 42, pp. 2-3].

 Yet in its response and affidavit, Defendant states that “MSC has an established policy to

 investigate claims of passenger injuries”. [D.E. 42, p. 3; 42-1, ¶3] (emphasis added). Based on

 this policy, it is evident that MSC conducts an investigation and gathers facts and evidence for all

 claims of passenger injuries without considering the facts or the possibility that the passenger may

 later file a lawsuit. In short, if the passenger has an incident that requires more than first aid, MSC

 automatically conducts an investigation – that is not sufficient to be considered work product.

        In this case, the incident report was prepared and the photographs were taken on the same

 day of the Plaintiff’s incident – on January 9, 20141 by a crewmember Safety Officer (as opposed

 to an investigator or attorney). Although MSC would like to paint with broad strokes in applying

 the work product doctrine to everyone and everything, that application does not take into account

 that the only police force aboard the vessel are the security officers, whose job it is to complete

 incident reports and gather statements when an incident occurs.

        Further, MSC’s affidavit addresses only the possibility of litigation, but as this Court stated

 in Bridgewater, “[i]t defies logic and common sense” to think that MSC did not have a strong

 business interest—apart from the possibility of a future lawsuit—in assuring the safety of its vessel

 and its passengers. Bridgewater, 286 F.R.D. at 641.

        Under similar facts, this Court has repeatedly held that a cruise line’s routine investigation

 and the reports rendered therefrom are not sufficient to invoke the work product protection just

 because they may be used to defend a lawsuit. See Jones v. Carnival, Case No. 04-20407-CIV-




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   Although MSC’s Privilege Log lists January 9, 2015 as the date of preparation, counsel for MSC
 informed the undersigned that it is a typo which should read January 9, 2014 (i.e., the date of the
 Plaintiff’s incident). [D.E. 34-2]

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 JORDAN (S.D. Fla. 2004); Giroux v. Carnival Corp., No. 05-CIV-22818 (S.D. Fla. 2005); see

 also Boney v. Carnival, No. 08-22299 (S.D. Fla. 2009) [D.E. 34-3].

        Accordingly, this Honorable Court should find that the work product doctrine does not

 apply to the incident report or photographs contained therein and compel MSC to produce such

 documents.

                                      Attorney-Client Privilege

        MSC’s second argument is that the incident report is protected under the attorney-client

 privilege. The incident report was prepared by a crewmember Safety Officer. This Safety Officer

 did not communicate with legal counsel to complete the report, but rather, he communicated with

 the Plaintiff and/or witnesses to the incident to complete the report. Further, as stated above, this

 information is gathered, not at the direction of counsel, but as a routine investigation following

 any passenger incident. Moreover, “the protection of the [attorney-client] privilege extends

 only to communications and not to facts.” Upjohn Co. v. United States, 449 U.S. 383, 394 (1981)

 (emphasis added). Therefore, the incident report and the photographs contained should not be

 considered communications between defense counsel and MSC in furtherance of counsel.

        Accordingly, Plaintiff respectfully requests this Honorable Court enter an order compelling

 MSC to provide better responses to Plaintiff’s Initial Request for Production consistent with his

 Motion to Compel. [D.E. 34]. Alternatively, the Plaintiff respectfully requests that this Honorable

 Court conduct an in camera inspection to determine whether the records at issue in fact contain

 information that is protected under the work-product doctrine or attorney-client privilege.

                                                         Respectfully submitted,

                                                         LIPCON, MARGULIES,
                                                         ALSINA & WINKLEMAN, P.A.
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                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on April 15, 2015, I electronically filed the foregoing document

 with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

 served this day on all counsel of record or pro se parties identified on the attached Service List in

 the manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF

 or in some other authorized manner for those counsel or parties who are not authorized to

 electronically receive Notices of Electronic Filing.

                                                    By: /s/ Jacqueline Garcell
                                                        JACQUELINE GARCELL
                                                        Florida Bar No. 104358




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